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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:10CR273
                              )
          v.                  )
                              )
MARGUERITE HAZEN,             )                       ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to extend presentence investigation report objection deadline

(Filing No. 58).   The Court finds the motion should be granted.

Accordingly,

          IT IS ORDERED that the motion is granted; defendant

shall have until January 5, 2011, to file objections to the

presentence investigation report.

          DATED this 29th day of December, 2010.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
